     Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 1 of 41




            THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR
PRESIDENT, INC., et al.,

                  Plaintiffs,
                                         Case No. 20-cv-02078-MWB
v.

CITY OF PHILADELPHIA, et al.,

                  Defendants.


          RESPONSE IN OPPOSITION TO PLAINTIFFS’
       MOTION FOR A TEMPORARY RESTRAINING ORDER
              AND PRELIMINARY INJUNCTION
       Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 2 of 41




                                    TABLE OF CONTENTS
                                                                                          Page
I.     PRELIMINARY STATEMENT ...................................................................3
II.    PROCEDURAL HISTORY ........................................................................10
I.     PLAINTIFFS LACK STANDING..............................................................12
       A.     The Trump Campaign Lacks Standing ..............................................13
       B.     The Individual Voters Do Not Have Standing ................................... 17
II.    THE TRUMP CAMPAIGN CANNOT SHOW ANY ENTITLEMENT
       TO THE INJUNCTIVE RELIEF REQUESTED ........................................21
       A.     The Court Should Deny the Trump Campaign’s Motion Because
              It Is Unlikely to Succeed on the Merits .............................................23
              1.       The Trump Campaign Cannot Prevail on Its Equal
                       Protection Claims....................................................................25
              2.       Plaintiffs Admit That They Cannot Prevail on Their Elections
                       and Electors Clause Claims .....................................................28
       B.     The Trump Campaign Cannot Prove Irreparable Harm ..................... 29
       C.     The Equities and Public Interest Necessitate Denying the Requested
              Relief ................................................................................................31
III.   SOVEREIGN IMMUNITY PRECLUDES ISSUANCE OF AN
       INJUNCTION AGAINST THE COUNTY DEFENDANTS ...................... 34




                                                        i
         Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 3 of 41




                                   TABLE OF AUTHORITIES

                                                                                                       Page(s)

Cases

Berg v. Obama,
   586 F.3d 234 (3d Cir. 2009) .............................................................................18

Bognet v. Boockvar,
  No. 20-215, 2020 WL 6323121 (W.D. Pa. Oct. 28, 2020)......................... passim

Burdick v. Takushi,
  504 U.S. 428 (1992) .........................................................................................27

Bush v. Gore,
  531 U.S. 98 (2000)...........................................................................................11

In re Canvassing Observation Appeal of City of Phila. Bd. of Elections,
    No. 30 EAP 2020, 2020 WL 6737895 (Pa. Nov. 17, 2020) .......................... 5, 13

Chez Sez III Corp. v. Twp. of Union,
  945 F.2d 628 (3d Cir. 1991) .............................................................................16

D.C. Ct. of Appeals v. Feldman,
  460 U.S. 462 (1983) ...........................................................................................9

Donald J. Trump for President, Inc. v. Boockvar,
  No. 20-CV-966, 2020 WL 5997680 (W.D. Pa. Oct. 10, 2020) .................. passim

Donald J. Trump for President, Inc. v. Boockvar,
  No. 20-CV-966, 2020 WL 4920952 (W.D. Pa. Aug. 23, 2020) ............ 16, 17, 18

Donald J. Trump for President, Inc. v. Cegavske,
  No. 20-cv-1445, 2020 WL 5626974 (D. Nev. 2020) ..........................................3

Florida v. Powell,
   559 U.S. 50 (2010)...........................................................................................13

Gamza v. Aguirre,
  619 F.2d 449 (5th Cir. 1980) ............................................................................14

In re General Election-1985,
    531 A.2d 836 (Pa. Commw. Ct. 1985) ...............................................................4

                                                        ii
         Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 4 of 41




Hamm v. Boockvar,
  No. 600 MD 2020 (Pa. Commw. Ct. 2020) ......................................................18

Hortonville Joint Sch. Dist. No. 1 v. Hortonville Educ. Ass’n,
  426 U.S. 482 (1976) .........................................................................................13

Lance v. Coffman,
  549 U.S. 437 (2007) ...........................................................................................4

Lujan v. Defenders of Wildlife,
   504 U.S. 555 (1992) .......................................................................................4, 6

Marks v. Stinson,
  19 F. 3d 873 (3d Cir. 1994) ................................................................................2

Marran v. Marran,
  376 F.3d 143 (3d Cir. 2004) ...............................................................................9

Mi Familia Vota v. Abbott,
   977 F.3d 461 (5th Cir. 2020) ............................................................................20

NAACP Phila. Branch v. Ridge,
  No. 00-CV-2855, 2000 WL 1146619 (E.D. Pa. Aug. 14, 2000) ....................... 16

Orloski v. Davis,
   564 F. Supp. 526 (M.D. Pa. 1983) .....................................................................3

Pa. Voters Alliance v. Centre Cnty.,
   No. 20-cv-1761, 2020 WL 6158309 (M.D. Pa. Oct. 21, 2020) ...........................7

Pavek v. Donald J. Trump for President, Inc.,
  967 F.3d 905, 907 (8th Cir. 2020) ......................................................................4

Planned Parenthood of Cent. N.J. v. Farmer,
   220 F.3d 127 (3d Cir. 2000) .............................................................................18

Purcell v. Gonzalez,
  549 U.S. 1 (2006).............................................................................................20

R.R. Comm. of Tex. v. Pullman Co.,
   312 U.S. 496 (1941) ................................................................................... 16, 17




                                                       iii
         Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 5 of 41




Republican Nat’l Comm. v. Democratic Nat’l Comm.,
  140 S. Ct. 1205 (2020) .....................................................................................20

Ron Barber for Cong. v. Bennett,
  No. 14-2489, 2014 WL 6694451 (D. Ariz. Nov. 27, 2014) .............................. 11

Rooker v. Fidelity Trust Co.,
  263 U.S. 413 (1923) ...........................................................................................9

Short v. Brown,
   893 F.3d 671 (9th Cir. 2018) ............................................................................14

Stein v. Cortes,
   223 F. Supp. 3d 423 (E.D. Pa. 2016) .............................................................. 5, 9




                                                       iv
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 6 of 41




                         PRELIMINARY STATEMENT
      The Court has given Plaintiffs, Donald J. Trump for President, Inc. and two

individuals (together, the “Trump Campaign”), ample opportunity to show that there

is any basis whatsoever for their extraordinary request for injunction of the

certification of a Presidential election. The Trump Campaign has not been able to do

so. In two iterations of its Complaint and two Motions for Preliminary Injunction,

the Trump Campaign has made, and then backed away from, hypothetical and

unsubstantiated claims of fraud. Now, the Trump Campaign admits that it has no

facts to support its sweeping theories. Undeterred, however, it asks this Court to

permit it to go on a fishing expedition to find support for its allegations—all while

delaying election certification and potentially disenfranchising 6.7 million

Pennsylvania voters. Granting an injunction for the express purpose of delaying

dismissal of a complaint that is legally deficient, however, is unauthorized by law

and well outside the norms of federal practice. The Court should reject the Trump

Campaign’s last-ditch effort to save its meritless claim.

      Setting aside the facially invalid reasons for seeking an injunction, the Trump

Campaign cannot meet its burden of proving that it is entitled to the issuance of a

preliminary injunction. Fundamentally, neither the law nor the facts as asserted by

the Trump Campaign support the relief it seeks. As an initial matter, the Trump

Campaign lacks standing to bring the claims asserted and thus an injunction cannot



                                          1
       Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 7 of 41




be issued. See Bognet v. Sec’y of Commw. of Pa., — F.3d —, 2020 WL 6686120, at

*1 (3d Cir. Nov. 13, 2020) (“Bognet”); see also County Boards’ Motion to Dismiss

at 17-45, ECF No. 94 (hereinafter the “Counties’ Motion to Dismiss”). Moreover,

Plaintiffs’ entire motion rests on the faulty premise that the Counties must prove a

negative, i.e., that voter fraud did not occur in this election. That argument is

meritless.

      Even if Plaintiffs could demonstrate they have standing, which they cannot,

in order to obtain a preliminary injunction, they must establish four factors to obtain

relief: (1) that they are likely to succeed on the merits, (2) that they are likely to

suffer irreparable harm absent preliminary relief, (3) that the balance of equities

favors them, and (4) that an injunction would be in the public interest. 1 Id. at 20. The

first two factors are critical. See Greater Phila. Chamber of Commerce v. City of

Phila., 949 F.3d 116, 133 (3d Cir. 2020) (holding that “only if these ‘gateway

factors’ are established does the district court consider the remaining two factors”).

      While none of these factors weigh in the Trump Campaign’s favor, most

importantly, it cannot demonstrate a likelihood of success on the merits: In its

Amended Complaint, the Trump Campaign has abandoned its claims of fraud,

ballot-observation, and due process violations. The Amended Complaint has


1
  The temporary restraining order factors are identical, Bognet v. Boockvar, No. 20-
cv-215, 2020 WL 6323121, at *2 (W.D. Pa. Oct. 28, 2020), and this brief analyzes
the two issues together.

                                           2
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 8 of 41




dwindled to a fruitless and specious equal protection and Electors and Elections

Clause claim based on vague assertions of differences in the standards for

sufficiency of mail-in ballots. However, the election was conducted in a fair,

impartial manner consistent with the Pennsylvania Election Code and therefore the

Trump Campaign cannot establish that it will succeed on the merits. Moreover, the

Trump Campaign cannot establish irreparable harm where its ballot-sufficiency

claims remain pending in state court, where the ballots being challenged here are

insufficient to affect the result of the election, and where it has additional recourse

to the state election contest process—such procedures are more than adequate to

address any disagreement with application of the state Election Code.

      The Trump Campaign’s request for the issuance of a temporary restraining

order and preliminary injunction should be denied, and the process of certifying the

vote should continue to ensure that the voices of Pennsylvanians are heard in this

important election.

                             FACTUAL OVERVIEW

I.    THE COUNTIES CONDUCTED A FAIR ELECTION IN
      COMPLIANCE WITH THE ELECTION CODE
      As an initial matter, “the purpose and objective of the Election Code, which

contains Act 77, is to obtain freedom of choice, a fair election and an honest election

return[.]” Pa. Democratic Party v. Boockvar, 238 A.3d 345, 356 (Pa. 2020) (internal

quotation marks omitted). Since its enactment in 1937, the General Assembly has


                                          3
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 9 of 41




authorized a “county-based scheme to manage elections within the state, and

consistent with that scheme the legislature endeavored to allow county election

officials to oversee a manageable portion of the state in all aspects of the process.”

Republican Party of Pa. v. Cortes, 218 F. Supp. 3d 396, 409 (E.D. Pa. 2016); accord

Donald J. Trump for President, Inc. v. Boockvar, — F. Supp. 3d —, 2020 WL

5997680, at *9 (W.D. Pa. 2020) (citing 25 P.S. § 2641(a)). As part of this delegated

authority, “[t]he Election Code vests county boards of elections with discretion to

conduct elections and implement procedures intended to ensure the honesty,

efficiency, and uniformity of Pennsylvania’s elections.” Boockvar, 2020 WL

5997680, at *9 (citing 25 P.S. §§ 2641(a), 2642(g)) (emphasis added). It is wholly

permissible—and expected—that counties will “employ entirely different elections

procedures and voting systems within a single state” dependent upon the number of

eligible voters, costs, innovative efforts, etc. Donald J. Trump for President, Inc. v.

Boockvar, — F. Supp. 3d —, 2020 WL 5997680, at *44 (W.D. Pa. 2020).

          1. Intake Process for Mail-in and Absentee Ballots

      As more fully detailed in the Counties’ Memorandum of Law in Support of

the Motion to Dismiss and the subsequent Reply Brief, which are incorporated by

reference, the arc of a mail-in ballot has a clear, predictable, and accountable

trajectory. Voters applied for and were provided mail-in ballots. Bluestein Decl. ¶¶

9-10; Szefi Decl. ¶¶ 8-9; Turner Decl. ¶¶ 9-10; and Dean Decl. ¶¶ 8-9. Mail-in and


                                          4
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 10 of 41




absentee ballots that were returned to the Counties underwent an intake process,

separate and independent of any pre-canvassing or canvassing activities to document

receipt, verify voter information, and organize and expedite the canvassing process

prior to Election Day. Bluestein Decl. ¶ 14; Szefi Decl. ¶ 13; Turner Decl. ¶ 14; and

Dean Decl. ¶ 13. Any ballots that did not comply with the eligibility requirements in

the Election Code were set aside and generally not included in the pre-canvassing

process that began on Election Day, November 3, 2020, at 7:00 a.m. or were pre-

canvassed but not included in any ballot counts. Bluestein Decl. ¶¶ 15-16; Szefi

Decl. ¶¶ 14-15; Turner Decl. ¶¶ 15-16; and Dean Decl. ¶¶ 14-15.

          2. The Pre-canvass and Canvass of Mail-in and Absentee Ballots.

      Pre-canvassing and canvassing activities begin on Election Day. Pre-

canvassing is defined by the Election Code as “the inspection and opening of all

envelopes containing official absentee ballots or mail-in ballots, the removal of such

ballots from the envelopes and the counting, computing and tallying of the votes

reflected on the ballots.” 25 P.S. §§ 2602(a.1), (q.1). This is a multi-faceted operation

comprised of: (1) the inspection of the declaration envelope, (2) extraction of the

secrecy envelope, (3) extraction of the ballot, and (4) counting the vote. Bluestein

Decl. ¶ 15; Szefi Decl. ¶ 14; Turner Decl. ¶ 15; and Dean Decl. ¶ 14. Canvassing

involves the same activities as pre-canvassing and is defined as the “gathering of




                                           5
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 11 of 41




ballots after the final pre-canvass meeting and the counting, computing and tallying

of the votes reflected on the ballots.” 25 P.S. § 2602(a.1) (emphasis added).

         3. Notification of Non-Compliant Mail-in or Absentee Ballots

      On October 25, 2020, the Pennsylvania Secretary of State emailed all county

boards of elections suggesting that they cancel ballots in the Commonwealth’s

Statewide Uniform Registry of Electors system (“SURE”) that were returned

without a secrecy envelope or declaration signature. See Pls. Mot. for Prelim. Inj.,

Ex. 1.2 As some counties were preparing for these kinds of steps in advance while

others did nothing, Counties ultimately responded to the Guidance in slightly

different ways, all with largely the same end result. Philadelphia, for example,

cancelled ballots received up to that point in SURE that were either unsigned or that

had been identified through the automated sorting process (without being opened)

as not containing a secrecy envelope. This rendered these ballots invalid, and

automatically generated an email from the Department of State to any approved

voter with an email address on file. Bluestein Decl. ¶ 17. Allegheny, Montgomery,

and Chester counties notified the voter who submitted it with an explanation that it

could not be counted because it did not meet the Election Code’s requirements and



2
  Identifying a ballot as facially non-compliant did not involve opening the
declaration envelope. Instead, the information on the outside of the envelope (like
name, address, and signature) was plainly visible and the weight of the envelope was
used to predict that the envelope had no secrecy envelope.

                                         6
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 12 of 41




each county handled the ballot in a slightly different way, as addressed below. Szefi

Decl. ¶ 15; Turner Decl. ¶ 16; and Dean Decl. ¶ 15. The specific actions of the

Counties in response to this Guidance had the same net effect: the facially non-

compliant ballots, as received, were segregated from the others until pre-canvassing

and then, if not cured, were marked deficient. The Counties and the affected voters

took the following actions in advance of and/or on Election Day:

   County        Maximum Number           Actions Taken by County and Affected
                 of Voters Provided                      Voters
                 Notice of Potential
                     Deficiency
 Philadelphia           3,088               The 3,088 mail-in and absentee ballot
                                           submissions set aside were cancelled in
                                          the SURE system; this caused an email to
                                             be sent to voters whose records in the
                                          SURE system included an email address.
                                                      Bluestein Decl. ¶ 17.
  Allegheny           Appx. 500             The unopened ballot submissions were
                                         returned to the approximately 500 affected
                                                    voters. Szefi Decl. ¶ 15.
 Montgomery              2,752            Before Election Day, the Board generated
                                          a list of 2,752 absentee and mail-in ballot
                                           submissions with various issues—some
                                         related to postal issues and some related to
                                            potential deficiencies. If the Board had
                                            contact information for a voter whose
                                               ballot submission had a potential
                                          deficiency, the Board tried to contact that
                                           voter. Only 92 of these voters corrected
                                                      potential deficiencies.

                                         On Election Day, the Board pre-canvassed
                                          all ballot submissions—including those
                                           with potential deficiencies. The Board


                                         7
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 13 of 41




                                          kept a running list of absentee and mail-in
                                          ballot submissions that were confirmed to
                                            be deficient during the pre-canvass and
                                            canvass. Throughout Election Day, the
                                           Board alerted both political parties about
                                          the voters included on this list. By the end
                                             of the pre-canvass and canvass, 2,145
                                           absentee and mail-in ballot submissions
                                          had been confirmed deficient. Dean Decl.
                                                           ¶¶ 15-18.

   Chester             Appx. 186          Approximately 150 absentee and mail-in
                                             ballot submissions were potentially
                                           deficient prior to October 28, 2020 and
                                             approximately 36 additional ballot
                                          submissions were found to be potentially
                                           deficient between that date and Election
                                          Day; a list of affected voters was provided
                                               to the parties. Turner Decl. ¶ 16.

      Accordingly, even using generous estimates from the information above—

i.e., if every voter notified had ‘cured’ a ballot deficiency and that ‘cure’ were

determined to be improper—the total number of ballots potentially at issue in this

category is approximately 6,500. This is the potential universe of challenged ballots.

         4. Provisional Ballots

      The Election Code details the process by which a voter may cast a provisional

ballot and how the boards of election should determine if that ballot may be counted.

Any voter casting a ballot that fails to comply with the Election Code is eligible to

cast a provisional ballot after satisfying certain requirements, including signing an

affidavit setting forth his or her: name, date of birth, place of residence, and



                                          8
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 14 of 41




affirmation that the individual has not cast another ballot in the election. See 25 P.S.

§ 3050(a.2), (a.4)(2). The completed ballot is then placed into a secrecy envelope

that is put into a provisional ballot envelope, sealed, and signed by the voter. Id.

§ 3050(a.4)(3).

      All provisional ballots are automatically set aside and not counted until the

“county board of elections [] examine[d] each provisional ballot envelope that is

received to determine if the individual voting that ballot was entitled to vote.” Id.

§ 3050(a.4)(4) (emphasis added). This verification process includes confirmation

that the individual has not already cast another ballot and is in fact an eligible voter.

Id. § 3050(a.4)(2), (4). An authorized representative of each candidate and each

political party is permitted in the room when this determination is being made. Id.

These representatives are permitted to keep a list of voters who cast a provisional

ballot and are entitled to challenge any decision by the county board of elections as

to whether a ballot should be counted. Id. Any challenged ballots are set aside and

“placed unopen in a secure, safe and sealed container” until a hearing can be held.

Id. § 3050(a.4)(i). The hearing must be held within seven days of the challenge. Id.

§ 3050(a.4)(4)(ii).

          5. Computation of Election Results for Certification

      The Election Code requires that the computation be reported no later than 15

days after Election Day (i.e., November 18, 2020). In an abundance of caution and



                                           9
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 15 of 41




in light of the various challenges raised regarding mail-in and absentee ballots,

provisional ballots, and canvassing, generally, the Counties have reported

computations with segregated categories to account for, inter alia, ongoing state law

challenges to some County Board decisions as well as ballots received on November

4, 5, or 6 that are the subject of the segregation order.

II.     PROCEDURAL HISTORY

      The unwieldy, scattershot history of this litigation is set forth in the Counties’

Memorandum of Law in Support of its Motion to Dismiss and the Reply Brief filed

in further support of the Motion, which are incorporated here by reference. See

Counties’ Mot. to Dismiss at 9-13, ECF No. 94, and Counties’ Reply, ECF No. 177.

Of most relevance here, the Trump Campaign filed a complaint seeking declaratory

and injunctive relief against the Counties and the Commonwealth of Pennsylvania

on November 9, 2020. Compl., ECF No. 1. On November 15, 2020, the Trump

Campaign filed an amended complaint as of right. Am. Compl., ECF No. 125. By

Order dated November 18, 2020, this Court directed the Trump Campaign to seek

any requested injunctive relief by 5:00 p.m. on November 19, 2020. (ECF No. 167.)

That Order provided that any opposition to the request for injunctive relief shall be

filed by 5:00 p.m. on November 20, 2020 and any reply brief by 12:00 p.m. on

November 21, 2020. (Id.)




                                           10
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 16 of 41




                                    ARGUMENT
      The Trump Campaign’s claims that they were injured because the Counties

treated “millions of mail-in voters” differently based on residence and “counted

untold thousands of ballots” that failed to satisfy the requirements set forth in the

Election Code, are utterly without merit and fall woefully short of meeting the high

threshold required for preliminary injunctive relief. Indeed, the Trump Campaign’s

belated attempt to look for facts to support its unsubstantiated claims by seeking “a

brief pause” to conduct discovery belies any argument that it has a likelihood of

success on the merits—the cornerstone factor for the extraordinary remedy of

granting preliminary injunctive relief.

      As a threshold matter, neither the Trump Campaign nor the Individual

Plaintiffs have standing to bring their motion for preliminary injunction before this

Court. Second, neither the Trump Campaign nor the Individual Plaintiffs can meet

their burden to prove, as they must, that their claims are likely to succeed on the

merits, that they will suffer irreparable harm absent injunctive relief, that the balance

of equities favors them, and that the injunction would be in the public interest. The

essence of the Trump Campaign’s audacious request is to enjoin the certification of

6.7 million votes (and thus the consummation of the exercise of the right to vote by

6.7 million voters) in a final gambit to prevent the certification of Pennsylvania’s 20




                                           11
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 17 of 41




electoral votes. The time for loud protest and baseless accusations of massive fraud

is over. It is time to prove facts—and the Trump Campaign fails to do so.

I.      PLAINTIFFS LACK STANDING

      In the operative Amended Complaint, the Trump Campaign has abandoned

its fraud-based claims, including all counts related to observer access The Trump

Campaign has also conceded that its Elections and Electors Clause claims were

foreclosed by the Third Circuit’s precedential opinion in Bognet. 2020 WL 6686120,

at *7 (“Because Plaintiffs are not the General Assembly, nor do they bear any

conceivable relationship to state lawmaking processes, they lack standing to sue over

the alleged usurpation of the General Assembly’s rights under the Elections and

Electors Clauses.”). Consequently, although Plaintiffs’ Renewed Motion for a

Temporary Restraining Order and Preliminary Injunction (the “Motion for

Extraordinary Injunction”) purports to reincorporate the fraud-based, due process,

and Elections and Electors Clause claims, they are not properly before this Court.

See Am. Compl. ¶¶ 150-70, ECF No. 95.

      Notwithstanding the constant shifting of Plaintiffs’ claims, Plaintiffs cannot

be granted the extraordinary relief they request because both the Trump Campaign

and Individual Plaintiffs have failed to establish they have standing to bring any

federal constitutional claim. The Campaign and the Individual Plaintiffs have failed

to and cannot establish (1) a concrete injury to their individually protected legal



                                         12
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 18 of 41




interests, (2) that was caused by the Counties, and (3) would be appropriately

remedied by enjoining the Commonwealth’s certification of its votes. See Bognet,

2020 WL 6686120, at *6.

        A.     The Trump Campaign Lacks Standing

      The Trump Campaign—an entity legally precluded from casting a vote—

asserts that it has standing on two grounds: (1) for the entity itself; and (2) for the

candidate, Donald J. Trump. It is wrong.

      The Trump Campaign does not (and could) not have Article III standing

because it “represents only Donald J. Trump and his electoral and political goals”—

not the interests of voters. Donald J. Trump for President, Inc. v. Cegavske, — F.

Supp. 3d —, No. 20-cv-1445, 2020 WL 5626974, at *4 (D. Nev. Sept. 18, 2020).

“By statutory definition, a federal election candidate’s ‘principal campaign

committee’ is simply a reserve of funds set aside for that campaign.” Id. (citing 52

U.S.C. § 30102). The Trump Campaign has no fundamental right to vote equivalent

or even analogous to that of a citizen of the Commonwealth.

      The Trump Campaign provides no argument in the Motion for Extraordinary

Injunction to support its standing to seek the requested relief. Further, no case cited

by the Trump Campaign in connection with the pending Motions to Dismiss supports

its standing as an entity, as explained in the Counties’ Reply (ECF No. 94, at 2-4),

which is incorporated in total here by reference. In short, the Trump Campaign’s



                                           13
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 19 of 41




attempt to invoke the doctrines of associational and competitive standing fails as a

matter of law and logic. See id. The Trump Campaign does not have associational

standing because it is not a political association that “represent[s] . . . voters. The

Trump campaign represents only Donald J. Trump and his ‘electoral and political

goals’ of reelection.” Cegavske, 2020 WL 5626974, at *4. Additionally, the Trump

Campaign does not have competitive standing because it is not a candidate. It is

merely the entity representing Donald J. Trump’s political aspirations.

      Moreover, and critically, the Trump Campaign simply fail to plead the basic

elements of Article III standing either in connection with the present Motion or its

opposition to the Motion to Dismiss. Article III standing requires a non-speculative

injury in fact, causation, and redressability. See Lujan v. Defenders of Wildlife, 504

U.S. 555, 560 (1992); see also Lance v. Coffman, 549 U.S. 437, 439 (2007). The

Trump Campaign flatly fails to plead each of those critical elements.

      At the outset, the Trump Campaign claims no injury-in-fact. In the election

context, this is an outcome determinative inquiry and the Trump Campaign has not

plausibly put at issue enough votes to remotely change the outcome of the election—

now decided by a margin of more than 81,000 ballots. See Bognet, 2020 WL

6686120, at *8 (“[F]or Bognet to have standing to enjoin the counting of ballots . . .

such votes would have to be sufficient in number to change the outcome of the

election to Bognet’s detriment.”). At most, approximately 6,500 votes are at issue as



                                          14
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 20 of 41




even allegedly constituting an “illegal vote.” The Trump Campaign argues that

voters who were notified that their ballot submissions were potentially deficient

received an opportunity to exercise their right to vote that other voters in more

“Republican-leaning counties” were not given. It is a matter of fact, not statistical

configuration, however, that even if all of these ballot submissions were: (1) “cured”

in one way or another as a result of the notice provided by the counties at issue; and

(2) in fact cast for Candidate Joseph Biden (as they could have been cast for

Candidate Trump); and (3) declared invalid, no more than 6,500 ballots would be

affected. Under no semblance of reason could the Trump Campaign contend that

such a nominal amount of votes warrants the disenfranchisement of 6.7 million

voters.

      Additionally, even if this were not the case, the Trump Campaign cannot plead

an actionable injury based on hypothetical and speculative claims of fraud or

“illegal” votes. Id. at *16-17 (Article III standing must be “based on well-pleaded

facts; we do not credit bald assertions that rest on mere supposition”). The Trump

Campaign has yet to plead plausible claims of fraud or illegality and it struck all

previously relied upon bare assertions of fraud from its Amended Complaint. See

Stein v. Cortes, 223 F. Supp. 3d 423, 432 (E.D. Pa. 2016) (holding allegations of

potential machine hacking “simply do[es] not constitute an injury-in-fact”).




                                         15
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 21 of 41




      Finally, Plaintiffs’ Motion for Extraordinary Injunction again endeavors to

revive the Campaign’s failed ballot-observation claim—a theory that has been

definitively resolved against the Trump Campaign by the Supreme Court of

Pennsylvania. 3 This challenge (now recast as a claim of “ballot security”) has no

basis in Pennsylvania law—where partisan observers are not tasked with verifying

the validity of votes.

      The Trump Campaign also fails to establish the causation element of standing.

The claims of “ballot security,” the opportunity to “cure,” or vote a provisional ballot

are not traceable to Defendants’ actions. Both the Amended Complaint and the

Motion for Extraordinary Injunction rely upon the speculative acts of third parties

for their “illegal” vote claims—not the Counties. “[S]peculation about the decisions

of independent actors” cannot provide the basis for standing. Donald J. Trump for

President, Inc. v. Boockvar, No. 20-CV-966, 2020 WL 5997680, at *2-3 (W.D. Pa.

Oct. 10, 2020) (internal quotation marks omitted). The Trump Campaign has not

identified a causal link to sue the Counties that satisfies Article III standing.

      Lastly, the Trump Campaign’s alleged injury cannot be redressed. As

discussed above, the Trump Campaign has failed to plausibly allege that Trump


3
  In any event, this claim asserts only speculative injury that depends on an illogical
leap that rational and legal county differences in partisan ballot observation
somehow resulted in illegal votes. See In re Canvassing Observation Appeal of City
of Phila. Bd. of Elections, No. 30-EAP-2020, — A.3d —, 2020 WL 6737895, at *8-
9 (Pa. Nov. 17, 2020).

                                           16
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 22 of 41




would close his 81,000-vote deficit but for the issues he raises. Lujan, 504 U.S. at

571 (holding that redressability is lacking where “it is entirely conjectural whether

the nonagency activity that [allegedly] affects respondents will be altered . . . by the

agency activity they seek to achieve”). The Trump Campaign cannot allege that the

overall Pennsylvania election results would be different if the alleged “cure

disparity” was remedied, and thus cannot redress their claim.

       For these reasons, the Trump Campaign does not have standing.

        B.     The Individual Voters Do Not Have Standing

       Likewise, Mr. Roberts and Mr. Henry lack standing. The Counties did not

deprive Mr. Roberts or Mr. Henry of their right to vote. They acted in accordance

with the Election Code and Guidance from the Secretary of State when determining

which ballots should be cancelled due to a deficiency. It was Mr. Roberts and Mr.

Henry’s own failure to follow directions with respect to completing their mail-in

ballots that resulted in their votes not counting. That the Counties exercised their

discretion to notify residents in their districts with notification of the status of ballot

submissions and information about how to proceed if they wanted their vote to count

in the election—while the counties in which Mr. Roberts and Mr. Henry exercised

their discretion no to do the same—is not a constitutional injury.

      Mr. Henry alleges—for the first time in the Amended Complaint and in a

declaration appended to the Motion for Extraordinary Injunction—that his mail-in



                                            17
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 23 of 41




ballot was rejected and cancelled because it was not enclosed in a secrecy envelope. 4

Am. Compl. ¶ 15; see also Pls. Mot. for Prelim. Inj., Ex. 13 at ¶ 2. Mr. Roberts states

in a declaration appended to the Motion for Extraordinary Injunction that, after

having voted by absentee ballot for fifteen years without incident, he was unable to

cast a valid vote this year. Pls. Mot. for Prelim. Inj., Ex. 14 at ¶¶ 7-10. He claims

that he handed his absentee ballot to an election official and was notified after

Election Day that has ballot had been cancelled. Id. ¶ 9.

      Even taking these claims as true, which is not required at this posture, neither

Mr. Henry nor Mr. Roberts alleges a concrete injury because they fail to allege that

they would have cured their defective ballots had they had the opportunity to do so.

Bognet, 2020 WL 6686120, at *6 (holding that to bring suit you “must be injured in

a way that concretely impacts your own protected legal interest”). First, setting aside

of course that Mr. Henry has no claim based on his assertion that his improperly cast

ballot was not counted, such a generalized injury cannot support standing. We are

left to speculate as to what actions he and Mr. Roberts—or any other voter—would

have taken had they been given the opportunity to cure. These speculations and

hypotheticals concerning whether a voter would have cured his mail-in ballot cannot

establish the requisite injury in fact required to maintain standing. Berg v. Obama,


4
  Plaintiffs, in their original Complaint, admitted that such ballots should not be
counted and even requested an emergency order prohibiting the certification of
election results that included such ballots. Compl. ¶ 15.

                                          18
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 24 of 41




586 F.3d 234, 239 (3d Cir. 2009). And, of note, Mr. Roberts alleges he was not

notified that he was permitted to cure his ballot, despite living in Fayette County,

which is not alleged to be among the Counties prohibiting cure. See Am. Compl. ¶¶

16, 130.

      Finally, the Individual Plaintiffs assert no impediment to casting a provisional

ballot—a procedure all Pennsylvania voters could have used to record their vote

while the county board of elections determined whether it could be counted. See 25

P.S. §§ 3050, 3146.6(b)(2), 3150.16(b)(2). The independent decision of voters to

avail themselves of the provisional balloting procedure is not traceable to the

Counties. The Individual Plaintiffs may not create an equal protection injury for

standing purposes by including themselves in an allegedly “injured” group of

citizens who did not receive notification of their deficient or cancelled ballots and

an express invitation to remedy that deficiency in a manner that complied with the

Election Code. There is no constitutional right or statutory entitlement to either

action. If the rule were otherwise, any voter could submit a faulty ballot and then

claim to have standing if, after all the votes were counted, his candidate lost. Thus

their “conflating [of] all persons [who received such notice] into a preferred class

receiving better treatment than [them]” will not state an equal protection claim. See

Bognet, 2020 WL 6686120, at *15.




                                         19
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 25 of 41




      Neither the Trump Campaign nor the Individual Plaintiffs can demonstrate the

requisite injury in fact or causation and therefore lack standing to bring their claims.




                                          20
       Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 26 of 41




III.   THE TRUMP CAMPAIGN CANNOT SHOW ANY ENTITLEMENT
       TO THE INJUNCTIVE RELIEF REQUESTED

       A preliminary injunction is “an extraordinary remedy that may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter v.

Nat’l Res. Defense Council, Inc., 555 U.S. 7, 22 (2008). To meet its burden for both

a temporary restraining order and a preliminary injunction, the Trump Campaign

must establish four factors: (1) that they are likely to succeed on the merits, (2) that

they are likely to suffer irreparable harm absent preliminary relief, (3) that the

balance of equities favors them, and (4) that an injunction would be in the public

interest. Bognet v. Boockvar, No. 20-cv-215, 2020 WL 6323121, at *2 (W.D. Pa.

Oct. 28, 2020). The first two factors are critical. See Greater Phila. Chamber of

Commerce v. City of Phila., 949 F.3d 116, 133 (3d Cir. 2020) (holding that “only if

these ‘gateway factors’ are established does the district court consider the remaining

two factors”).

       As an initial point, in the same vein as its other audacious requests, the Trump

Campaign asks this Court to upend this familiar, axiomatic standard by arguing that

the Counties should bear the burden of proving each vote cast in the 2020 General

Election was legal. Pls. Mot. for Prelim. Inj., 23-24. Stated differently, the Trump

Campaign asks the Court to assume its entitlement to enjoin the certification of 6.7

million votes while the Counties amass evidence of each vote’s legality to prove an

injunction is not warranted. That is not the law. Plaintiffs ask this Court to ignore


                                          21
         Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 27 of 41




their burden of showing injunctive relief is warranted. They argue, without any

support, that an injunction is warranted unless the Defendants "prov[e] the Mail

Votes Were Legal." This attempt to avoid their burden of proof reveals they lack a

leg to stand on. Plaintiffs have not come close to meeting their burden of establishing

that extraordinary relief is warranted, and the motion should be denied on that basis

alone.

         The Plaintiffs offer no legal support for this extreme departure from a well-

known standard or in support of the Court dispensing with the presumption of

regularity and assuming the Counties did not properly carry out their official duties

without any “meaningful evidentiary showing.” Nat’l Archives & Records Admin. v.

Favish, 541 U.S. 157, 175 (2004); see also Phila. Redevelopment Authority v.

Atuahene, 229 A.3d 1002, 1011 (Pa. Super. Ct. 2020) (“The presumption of

regularity is prima facie evidence that public officials will properly carry out their

official duties, unless and until contrary evidence is presented.”). In the election

context, absent such a showing, a court should “presume[] the returns of [an] election

board were regular, and the election officers properly and in good faith performed

the duties imposed on them.” In re Ellwood City Borough’s Contested Election, 286

Pa. 257, 259 (Pa. 1926).

         As to the substance of the Trump Campaign’s motion, Plaintiffs cannot

demonstrate a likelihood of success on the merits or irreparable harm for three



                                           22
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 28 of 41




reasons. First, as previously discussed, they lack standing to bring the claims raised

here, all of which are premised upon generalized, hypothetical violations that—if

they exist—are borne equally by every eligible voter of the Commonwealth. Thus,

the Trump Campaign has failed to state a legally cognizable constitutional injury.

Second, every purported errant “ultra vires” discretionary decision exercised by the

Counties is premised upon a violation of state law, which, again, cannot state a

federal constitutional injury. Finally, inherent in the Trump Campaign’s inability to

identify a specific, concrete, constitutional injury, is the readily apparent failure to

state any irreparable harm. As the Trump Campaign cannot state a likelihood of

success on the merits warranting the extraordinary relief of a preliminary injunction,

it is certainly not entitled to the exceedingly rare remedy of enjoining certification

of the Commonwealth’s votes and the disenfranchising of millions of voters.

      The United States Court of Appeals for the Third Circuit recently dismissed a

similarly specious motion for a TRO and preliminary injunction based on a

“commitment to a proposition indisputable in our democratic process: that the

lawfully cast vote of every citizen must count.” See Bognet, 2020 WL 6686120, at

*1. Taking up that same charge should cause this Court to reach the same result here.

        A.     The Court Should Deny the Trump Campaign’s Motion Because
               It Is Unlikely to Succeed on the Merits

      The Third Circuit has made clear that establishing potential success on the

merits requires a plaintiff “demonstrate that [it] can win on the merits (which


                                          23
       Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 29 of 41




requires a showing significantly better than negligible but not necessarily more

likely than not).” Holland v. Rosen, 895 F.3d 272, 286 (3d Cir.), cert. denied, 139 S.

Ct. 440 (2018). “A plaintiff’s failure to establish a likelihood of success on the merits

‘necessarily result[s] in the denial of a preliminary injunction.’” Ass’n of N.J. Rifle

& Pistol Clubs, Inc. v. Att’y Gen. N.J., 910 F.3d 106, 115 (3d Cir. 2018).

       The Trump Campaign, whether or not properly pleaded (a point more fully

addressed in the Motion to Dismiss briefing), ostensibly seeks to raise two

constitutional issues: (i) an equal protection claim, and (ii) a claim for violations of

the Elections and Electors Clauses of the U.S. Constitution. 5 For the reasons set forth



   5
     Plaintiffs argue that “Defendants conduct violated due process” (Pls.' Opp. Br.
to Mot. to Dismiss, at 9-10, ECF No. 170), but no due process claims are at issue.
Plaintiffs voluntarily removed those claims when they filed their operative First
Amended Complaint—supposedly as a result of some mix of “confusion” and
“mistake.”
       Under the Pennsylvania preclusion rules that govern here, see Turner v.
Crawford Square Apartments III, L.P., 449 F.3d 542, 548 (3d Cir. 2006), res judicata
applies where four factors are present: “(1) identity of the thing sued upon or for; (2)
identity of the causes of action; (3) identity of the persons or parties to the action;
and (4) identity of the quality or capacity of the parties suing or being sued.”
Robinson v. Fye, 192 A.3d 1225, 1231 (Pa. Commw. Ct. 2018). Where it applies,
res judicata bars not only “those claims that were ‘actually litigated’ in the first
adjudication,” but also any claims that “could have been litigated . . . if they were
part of the same cause of action.” Id. Notably, “[a] judgment is deemed final for
purposes of res judicata and collateral estoppel unless or until it is reversed on
appeal.” Shaffer v. Smith, 673 A.2d 872, 874 (Pa. 1996). “Res judicata is not a mere
matter of technical practice or procedure but a rule of fundamental and substantial
justice.” Shah v. United States, 540 F. App’x 91, 93 (3d Cir. 2013), aff’g No. 12-
119, 2013 WL 1869095 (W.D. Pa. May 3, 2013) (Gibson, J.).


                                           24
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 30 of 41




below and those stated in the Counties’ Motion to Dismiss and Reply Brief, the

Trump Campaign cannot claim a likelihood of success on the merits because it has

failed to establish a constitutional injury.

                    1.     The Trump Campaign Cannot Prevail on Its Equal
                           Protection Claims

      The Trump Campaign’s equal protection claims are based on the Counties

allegedly violating state law by examining ballots before Election Day and notifying

voters who submitted ballots that did not comply with the Election Code that their



    Moreover, even if the Court considered such a claim, it would be premised on
observation procedure allegations that the Pennsylvania Supreme Court recently
held did not violate the Election Code. As a result, the claim is also barred by the
Rooker-Feldman doctrine, which prohibits collateral attacks in federal court on state
court judgments. See, e.g., Stein v. Cortes, 223 F. Supp. 3d 423, 434 (E.D. Pa. 2016)
(citing Marran v. Marran, 376 F.3d 143, 149 (3d Cir. 2004); see also D.C. Ct. of
Appeals v. Feldman, 460 U.S. 462 (1983); Rooker v. Fidelity Trust Co., 263 U.S.
413 (1923)).
       Finally, any amendment to assert a due process claims would be futile and the
claim would fail as a matter of law and on the merits in any event. See Counties’
Mot. to Dismiss, at 24-30, ECF No. 94. It is well established that there is no federal
constitutional right to “poll watch.” Pa. Democratic Party v. Boockvar, No. 133 MM
2020, — A.3d —, 2020 WL 5554644, at *30 (Pa. Sept. 17, 2020) (citing Republican
Party of Pa. v. Cortés, 218 F. Supp. 3d 396, 408, 415 (E.D. Pa. 2016)) (“there is no
individual constitutional right to serve as a poll watcher; rather, the right to do so is
conferred by statute”; nor does poll watching implicate anyone’s First Amendment
rights); Trump, 2020 WL 5997680, at *72 (same); accord Harris v. Conradi, 675
F.2d 1212, 1216 n.10 (11th Cir. 1982); Baer v. Meyer, 728 F.2d 471, 476 (10th Cir.
1984); Cotz v. Mastroeni, 476 F. Supp. 2d 332, 364 (S.D.N.Y. 2007); Republican
Party, 218 F. Supp. 3d at 414 (“Because the Pennsylvania Election Code, not the
United States Constitution, grants parts the ability to appoint poll watchers, the state
is free to regulate their use[.]”). The Trump Campaign implicitly admits this by, for
example, not raising any constitutional concerns in a state like West Virginia, where
no poll watchers are permitted at all. W. Va. Code § 3-1-37.

                                           25
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 31 of 41




ballots had been cancelled. See Pls. Mot. for Prelim. Inj., 15-17. Putting aside the

hyperbole and speculation, the Trump Campaign has fallen woefully short of a

stating a constitutional injury.

      First, at worst, the Trump Campaign’s claims are based on violations of state

law that do not—and cannot—state a constitutional injury. Donald J. Trump for

President, Inc. v. Boockvar, — F. Supp. —, 2020 WL 5997680, at *46 (W.D. Pa.

Oct. 22, 2020) (“[I]t is well-established that even violations of state election laws by

state officials . . . do not give rise to federal constitutional claims.”). The Trump

Campaign’s claims that the Counties counted ballots that did not comply with the

Election Code’s requirements, see id. at *18, and violated the Election Code by

notifying voters that the ballots they cast contained some deficiency do not state an

equal protection violation. Pls. Mot. for Prelim. Inj., at 17; see also id. at Exs. 12,

15. Even if these claims are true.

      Second, the Trump Campaign premises its claimed equal protection violation

on the Counties’ exercise of their delegated authority to implement the Election

Code. See 25 P.S. §§ 2641(a), 2642(g)). Plaintiffs have not identified any state law,

regulation, or policy that burdened the right of any Pennsylvania citizen’s vote.

Pennsylvania’s General Assembly authorized the Counties to use their discretion in

assessing the needs of their residents, available resources, and numerous other

factors when implementing the specific procedures needed to administer an election.



                                          26
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 32 of 41




Any differences in each county boards’ process of notifying voters of deficient

ballots, as an example, is a recognition of these differences and manifestation of that

delegated discretion. The Trump Campaign’s claims based on the cancellation

notifications given to Mr. Henry, Mr. Roberts, and the four additional declarants

referenced in the Motion for Extraordinary Injunction are simply different notes in

the same refrain. These claims do not evidence the devaluation or discriminatory

treatment of a cognizable group, sufficient to establish an equal protection violation.

Importantly, “while the Constitution demands equal protection, that does not mean

all forms of differential treatment are forbidden.” Donald J. Trump for President,

Inc. v. Boockvar, 2020 WL 5997680, at *38. The Trump Campaign’s attempt to cast

the Counties’ lawful discretionary decision-making into an equal protection

violation is in the vein of those protestations repeatedly rejected by circuit courts as

being the type of “garden variety election irregularities” that don’t state a

constitutional injury. Acosta v. Democratic City Comm., 288 F. Supp. 3d 597, 643

(E.D. Pa. 2018).

       Finally, the Trump Campaign’s claim that counting ballots with certain

purported declaration deficiencies (such as a missing date or incomplete address)

fail because they have not pled such allegations in the operative complaint. Similar

equal protection claims were asserted by the Trump Campaign and rejected less than

two months ago. Donald J. Trump for President, Inc, 2020 WL 5997680, at *38. As



                                          27
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 33 of 41




Judge Ranjan explained, “‘[c]ommon sense, as well as constitutional law, compels

the conclusion’ that states must be free to engage in ‘substantial regulation of

elections’” to ensure “‘order, rather than chaos,’” in the election administration. Id.

(quoting Burdick v. Takushi, 504 U.S. 428, 433 (1992)). Indeed, “‘[i]t is well-settled

that states may employ in-person voting, absentee voting, and mail-in voting and

each method need not be implemented in exactly the same way.” Id. at *61. Thus,

“while the Constitution demands equal protection, that does not mean all forms of

differential treatment are forbidden.” Id. (dismissing identical claim). “If the courts

were ‘to subject every voting regulation to strict scrutiny and to require that the

regulation be narrowly tailored to advance a compelling state interest,’ it ‘would tie

the hands of States seeking to assure that elections are operated equitably and

efficiently.’” Id. (quoting Burdick, 504 U.S. at 433)). Consequently, the Trump

Campaign shows no chance, let alone a likely one, of success on the merits of the

claim.

                    2.    Plaintiffs Admit That They Cannot Prevail on Their
                          Elections and Electors Clause Claims

         The Elections and Electors Clause claims, while not removed from the

Amended Complaint, have no merit by the Trump Campaign’s own admission.

Plaintiffs “acknowledge that—because the General Assembly is not a party here—

Bognet forecloses their allegations that they have standing to pursue their Elections

and Electors Clause claims.” Pls.’ Resp. to Notice of Supp. Auth. at 1, ECF No. 124.


                                          28
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 34 of 41




Accordingly, any relief requested under this clause is belied by Plaintiffs’ own

admission of its inapplicability in this matter and, accordingly, there is no likelihood

of success on the merits of this claim.

        B.     The Trump Campaign Cannot Prove Irreparable Harm

      Unsurprisingly, given the Trump Campaign’s inability to demonstrate an

actual injury for standing purposes or success on the merits of its claim, it is also

unable to establish that it will suffer irreparable harm absent an injunction. The

Trump Campaign contends it will be irreparably harmed without an injunction

because Pennsylvania’s electoral votes will be awarded to Joseph Biden and any

subsequent proof that could be marshalled that the “election was invalid, unequally

administered, and included the tabulation of unlawful votes” would be moot.

Inherent in the Trump Campaign’s argument of purported irreparable harm is the

concession that: (1) it cannot state an equal protection injury, and (2) it comes to

Court with pure speculation and conjecture.

      First, irreparable harm cannot ensue where, as here, a plaintiff has merely

claimed, but failed to show, it suffered a constitutional injury. This alone is enough

to determine that no irreparable injury will result from a denial of the requested

discovery or denial of an injunction against the certification of Pennsylvania’s votes.

See Boockvar, 2020 WL 5407748, at *4 (W.D. Pa. 2020) (denying preliminary

injunction alleging equal protection violations regarding absentee and mail-in



                                          29
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 35 of 41




ballots, because “Plaintiffs [had] not shown that the harm they fear[ed] is ‘likely,’ or

than an injunction is the ‘only’ way to prevent it[.]”).

      The Election Code and Secretary of State’s Guidance required that all voters

who did not submit their mail-in ballots in a secrecy envelope or otherwise failed to

comply with the requirements in the Election Code would not have their votes

counted. See Am. Compl. ¶¶ 15-16, 130. These are facially neutral requirements

uniformly applied to all counties. Any county that complied with this guidance and

additionally offered a provisional ballot to residents whose ballots had been

cancelled at worst violated the Election Code, which does not state a federal

constitutional violation. Lecky v. Virginia State Bd of Elections, 285 F. Supp. 3d 910,

919 (E.D. Va. 2018) (“[E]ven assuming the [state] officials’ failure to provide

provisional ballots amounted to a violation of state law, it would not rise to the level

of an equal protection violation.”).

      Second, as additional information about the number of votes that were

cancelled and subsequent provisional ballots cast will not help the Trump Campaign

state an equal protection violation, no irreparable harm will be suffered by denying

the requested injunctive relief. Especially where the information they seek to

discover is already a matter of public record.

      Third, the Trump Campaign cannot demonstrate irreparable harm where there

are viable state-court remedies at the Trump Campaign’s disposal. Not only does the



                                          30
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 36 of 41




Trump Campaign already have ballot-sufficiency claims pending in state court, there

are procedural mechanisms in the Election Code that can adequately address all of

the challenges raised here. See Counties’ Mot. to Dismiss, at 9-13, 36-37.

        C.     The Equities and Public Interest Necessitate Denying the
               Requested Relief

      Finally, although this Court can comfortably deny the Trump Campaign’s

motion for lack of standing and an inability to show a likelihood of success on the

merits, the equities in the balance and public interest also require this result.

      Contrary to the Trump Campaign’s assertions, it is in fact the Commonwealth

of Pennsylvania and its voting electorate—not the Trump Campaign—that will be

irreparably harmed if this motion is granted. The General Assembly established laws

and regulations whereby Pennsylvania citizens were assured that if they voted in-

person or timely requested submitted a mail-in or absentee ballot to their respective

Board of Elections, their voices would be heard and their votes counted. The General

Assembly did not render one of the voting methods more legitimate than the other—

all three voting methods (in-person, mail-in, and absentee) carry with them the same

assurances to the citizens of Pennsylvania that their votes would be counted and their

voices heard. The General Assembly “vest[ed] the right to vote for president in its

people, [and] the right to vote as the legislature has prescribed is fundamental.” Bush

v. Gore, 531 U.S. 98, 104 (2000). The Trump Campaign’s motion seeks this Court’s

assistance in disenfranchising 6.7 million Pennsylvanians and undermining the


                                           31
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 37 of 41




public’s faith in a successfully free, fair, and legal election. See Org. for Black

Struggle v. Ashcroft, 978 F.3d 603 (8th Cir. 2020) (“[C]onfidence in the integrity of

our electoral processes is essential to the functioning of our participatory

democracy” and “the State’s interest[] in . . . quickly certifying election results . . .

further serve[s] the public’s interest[.]” (internal quotation marks and citations

omitted)). The relief Plaintiffs request would inflict truly irreparable and

unconscionable harms upon the public with no support set forth in the pending

motion. The clear public interest weighs heavily in favor of denying the grant of an

injunction.

      The Trump Campaign relies heavily, and misguidedly, on Marks v. Stinson,

19 F.3d 873 (3d Cir. 1994), for the availability of the remedies it seeks. Marks

involved specific, proven findings of organized wrongdoing in the form of “massive

absentee ballot fraud.” Id. at 887.6 That is not even close to the record evidence here.

By the Trump Campaign’s own admission, there are no present allegations of fraud

nor do they properly allege that any other situation within the Counties’ election

practices amount to the harms shown in Marks. By the Trump Campaign’s own

admission, their claims rest on the alleged differences in the Counties’ dealing with



6
  Marks involved an organized and executed plan to defraud citizens into applying
for absentee ballots when they did not meet the criteria, with outright lies that this
represented a “new form of voting,” so that they ballots could ultimately be cast
fraudulently.

                                           32
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 38 of 41




the mail-in votes and whether voters were notified of deficiencies observable upon

receipt of the ballot submission. The remedy ordered in Marks was both extreme and

anomalous and is not justified in cases involving routine election issues, let alone in

this matter where there are no properly pled allegations of wrongdoing. See, e.g.,

Perkins v. Matthews, 400 U.S. 379 (1971) (Black, J. dissenting) (“This Court has

always heretofore been rightly hesitant in interfering with elections even for the

grossest abuses.”); Perles v. Cty. Return Bd. of Northumberland Cty., 415 Pa. 154,

159 (1964) (“The power to throw out a ballot for minor irregularities, like the power

to throw out the entire poll of an election district for irregularities, must be exercised

very sparingly and with the idea in mind that either an individual voter or a group of

voters are not to be disfranchised at an election except for compelling reasons.”);

Appeal of Simon, 46 A.2d 243, 246 (Pa. 1946) (“For mere irregularities in

conducting an election it is not to be held void,” “because the rights of voters are not

to be prejudiced by the errors or wrongful acts of the officers of the election.”). 7


7
  See also Griffin v. Burns, 570 F.2d 1065, 1076 (1st Cir. 1978) (“Federal court
intervention into the state’s conduct of elections for reasons other than racial
discrimination has tended, for the most part, to be limited to striking down state laws
or rules of general application which improperly restrict or constrict the franchise.”);
Pa. Democratic Party, 2020 WL 5554644, at *9 (“[I]t is well-settled that, although
election laws must be strictly construed to prevent fraud, they ordinarily will be
construed liberally in favor of the right to vote . . . to enfranchise and not to
disenfranchise” voters.); Lopez v. Merced Cnty., Cal., 473 F. Supp. 2d 1072, 1082
(E.D. Cal. 2007) (three judge panel explaining that, “like other courts faced with
similar situations, [it was] reluctant to set aside the results or prevent certification of


                                            33
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 39 of 41




      But the Trump Campaign not only seeks decertification of the vote without

any basis in fact, let alone wrongdoing, it blatantly goes further and seeks the

certification of the vote in favor of Donald Trump. The Third Circuit refused to take

that unprecedented step even in the face of the gross wrongdoing presented in Marks.

Despite the gross findings of massive absentee ballot fraud and voter deception, the

Third Circuit refused to affirm the certification of Marks (the losing party) as a

remedy—the remedy the Trump Campaign seeks here—because there was not a

showing that Marks would have won the election absent the wrongdoing; stating that

the primary concern was not in punishing a candidate or party but to promote the

public interest and this interest is not served by arbitrarily ignoring the absentee vote.

Marks, 19 F.3d at 888.

      Accordingly, this Court should refuse Plaintiffs’ baseless and unprecedented

request for a preliminary injunction.

IV.   SOVEREIGN IMMUNITY PRECLUDES ISSUANCE OF AN
      INJUNCTION AGAINST THE COUNTY DEFENDANTS

      This Court also does not have jurisdiction to enjoin the Counties as they are

arms of the state entitled to immunity under the Eleventh Amendment of the U.S.


an election”); Baber v. Dunlap, 349 F. Supp. 3d 68, 76 (D. Me. 2018) (noting that
“the cure [is] worse than the alleged disease, at least insofar as the professed concern
is with the right of voters to cast effective ballots in a fair election”); Ron Barber for
Cong. v. Bennett, No. 14-CV02489, 2014 WL 6694451, at *7 (D. Ariz. Nov. 27,
2014) (explaining that the plaintiffs had “point[ed] to no cases where a court
enjoined further action by state electoral officials after the election”).

                                           34
      Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 40 of 41




Constitution. Trinsey v. Montgomery Cnty. Bd. of Elections, No. 87-6975, 1988 WL

82877, at *1 (E.D. Pa. Aug. 4, 1988) (claims against Pennsylvania county boards of

election are “barred by the Eleventh Amendment”). Courts in Pennsylvania and

elsewhere have repeatedly held that as long as the claims asserted against county

boards of elections challenge their administration of federal and state-wide elections,

those claims are barred under the sovereign immunity doctrine. Id.; Hunter v.

Hamilton Cnty. Bd. of Elections, 850 F. Supp. 2d 795, 801 (S.D. Ohio 2012); see

also Citizens for John W. Moore Party v. Bd. of Election Comm’rs of City of Chi.,

781 F.2d 581, 584 (7th Cir. 1986) (Easterbrook, J., dissenting from decision to

certify state-law question to Illinois Supreme Court). Accordingly, even if this Court

were inclined to issue an injunction, it cannot be directed at the Defendant Counties.

                                  CONCLUSION

      The Trump Campaign’s audacious request for injunctive relief would result

in the disenfranchisement of the 6.7 million Pennsylvanians who voted in the

November 3 election. The Trump Campaign has not proffered any facts or legal

arguments that would even remotely support this extraordinary relief. Accordingly,

the Trump Campaign’s request for the issuance of a preliminary injunction should

be denied.




                                          35
    Case 4:20-cv-02078-MWB Document 193 Filed 11/20/20 Page 41 of 41




Dated November 20, 2020              Respectfully submitted,

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                                     36
